Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 1 of 10 PageID #: 5
Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 2 of 10 PageID #: 6
Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 3 of 10 PageID #: 7
Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 4 of 10 PageID #: 8
Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 5 of 10 PageID #: 9
Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 6 of 10 PageID #: 10
Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 7 of 10 PageID #: 11
Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 8 of 10 PageID #: 12
Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 9 of 10 PageID #: 13
Case 1:10-cv-00721-SLR Document 1-1 Filed 08/26/10 Page 10 of 10 PageID #: 14
